Case 1:24-cv-23837-JEM Document 50-10 Entered on FLSD Docket 05/15/2025 Page 1 of 12




                              EXHIBIT J
                            Case 1:24-cv-23837-JEM Document 50-10 Entered on FLSD Docket 05/15/2025 Page 2 of 12


              Comparison of Districts Within the First Circuit — 12-Month Period Ending December 31, 2024

                                                      ME      MA        NH         RI      PR
                           Filings                    660    4,271      577      711     1,847
                        Terminations                  678    3,523    2,347      694     2,215
 Overall
                          Pending                     581    5,684    1,560      886     2,586
Caseload
Statistics   Percent Change          Over
             in Total Filings        Last Year        -3.5     1.6    -20.1       5.8    -10.6
             Current Year            Over 2019     -30.0       5.4    -64.9     -17.6    -34.3
                         Number of Judgeships           3      13         3         3        7
                    Vacant Judgeship Months ¹          2.8     0.0      0.0       0.0      0.0
                                     Total            220     329       192      237       264
                                 Civil                153     276       128      189        87
                                 Criminal
                    Filings      Felony                46      35        44       33       132
 Actions                         Supervised
   per                           Release
Judgeship                        Hearings              21      17        21       16        45
                       Pending Cases                  194     437       520      295       369
                     Weighted Filings ¹               211     326       195      243       280
                        Terminations                  226     271       782      231       316
                       Trials Completed                19      10        14         7        9
             From                  Criminal
 Median      Filing to             Felony             13.0    21.7     13.6     23.7      19.6
  Time       Disposition           Civil ¹             8.0     7.5     44.4       9.0     14.3
(Months)            From Filing to Trial ¹
                         (Civil Only)                    -    33.5         -        -         -
                      Number (and %)
                       of Civil Cases                  18     341      630       94       205
                     Over 3 Years Old ¹                4.6    7.0      48.3     14.0      20.8
                      Average Number
                   of Felony Defendants
  Other                                                1.2     1.4      1.6       1.4      2.1
                       Filed per Case
                       Avg. Present for
                       Jury Selection                 75.4    61.7     62.7     36.3      69.9
               Jurors
                       Percent Not Selected
                       or Challenged                  40.5    38.9     39.9     46.3      52.1

             NOTE: Criminal data in this profile count defendants rather than cases and therefore will not match previously published numbers.
             ¹ See "Explanation of Selected Terms."
                            Case 1:24-cv-23837-JEM Document 50-10 Entered on FLSD Docket 05/15/2025 Page 3 of 12


              Comparison of Districts Within the Second Circuit — 12-Month Period Ending December 31, 2024

                                                       CT    NY,N     NY,E     NY,S     NY,W        VT
                           Filings                 2,593     2,348    9,793   11,206    2,833     1,773
                        Terminations               2,365     2,464    9,347   12,403    3,015     1,685
 Overall
                          Pending                  2,613     2,401   13,772   16,616    3,382      925
Caseload
Statistics   Percent Change          Over
             in Total Filings        Last Year        13.2    -5.0     -6.8    -15.8      -1.8     62.8
             Current Year            Over 2019        -8.5    -3.5     13.9    -22.7     -25.4    208.3
                         Number of Judgeships           8       5        15       28         4        2
                    Vacant Judgeship Months ¹         10.6     2.6      0.0      8.3       7.0      0.0
                                     Total            324     470      653       400      708      887
                                 Civil                266     363      595       349      533      753
                                 Criminal
                    Filings      Felony                32      79        40       26       81        82
 Actions                         Supervised
   per                           Release
Judgeship                        Hearings              26      28        18       26       94        52
                       Pending Cases                  327     480      918       593      846      463
                     Weighted Filings ¹               295     379      584       449      515      424
                        Terminations                  296     493      623       443      754      843
                       Trials Completed                10      10        14       19         7       14
             From                  Criminal
 Median      Filing to             Felony             17.9     8.2     29.8     16.8     12.2      14.5
  Time       Disposition           Civil ¹             8.0     7.6      6.1      6.6       8.0      2.4
(Months)            From Filing to Trial ¹
                         (Civil Only)                 41.8    50.4     49.3     39.3         -        -
                      Number (and %)
                       of Civil Cases                 142     222     2,037    3,250     517        45
                     Over 3 Years Old ¹               7.0     12.2     18.8     26.2     19.2       7.1
                      Average Number
                   of Felony Defendants
  Other                                                1.6     1.1      1.5      1.3       1.1      1.4
                       Filed per Case
                       Avg. Present for
                       Jury Selection                 64.3    37.7     72.1     76.7     97.6      52.4
               Jurors
                       Percent Not Selected
                       or Challenged                  31.6     6.0     37.6     50.1     41.1      46.6

             NOTE: Criminal data in this profile count defendants rather than cases and therefore will not match previously published numbers.
             ¹ See "Explanation of Selected Terms."
                            Case 1:24-cv-23837-JEM Document 50-10 Entered on FLSD Docket 05/15/2025 Page 4 of 12


              Comparison of Districts Within the Third Circuit — 12-Month Period Ending December 31, 2024

                                                       DE       NJ    PA,E     PA,M     PA,W         VI
                           Filings                 1,625     13,806   9,730    2,858    3,389       190
                        Terminations               1,561     10,277   8,121    2,882    3,504       274
 Overall
                          Pending                  2,338     83,374   9,596    3,609    4,021       579
Caseload
Statistics   Percent Change          Over
             in Total Filings        Last Year        -1.6    -46.2    20.7      4.8     -13.7    -14.0
             Current Year            Over 2019     -38.0      -48.9    16.1      -0.5     -4.9    -43.3
                         Number of Judgeships           4       17       22        6       10         2
                    Vacant Judgeship Months ¹          0.0      2.6    26.1      1.0       0.0      0.0
                                     Total            406      812     442       476      339        95
                                 Civil                371      762     412       392      276        57
                                 Criminal
                    Filings      Felony                31       37       21       66       42        35
 Actions                         Supervised
   per                           Release
Judgeship                        Hearings               5       13        9       19       21         4
                       Pending Cases                  585     4,904    436       602      402       290
                     Weighted Filings ¹               612      674     330       451      292          -
                        Terminations                  390      605     369       480      350       137
                       Trials Completed                31        6        6       27       23        18
             From                  Criminal
 Median      Filing to             Felony             17.5     13.1    20.5     22.2     22.1      22.0
  Time       Disposition           Civil ¹             9.0      8.1     4.8      8.1       6.6     16.8
(Months)            From Filing to Trial ¹
                         (Civil Only)                 32.3     60.4    28.3         -    52.1          -
                      Number (and %)
                       of Civil Cases                 351    52,524   1,997     256       298      139
                     Over 3 Years Old ¹               16.6     64.0    23.5     10.2      9.4      41.6
                      Average Number
                   of Felony Defendants
  Other                                                1.3      1.1     1.3      1.3       1.4      1.4
                       Filed per Case
                       Avg. Present for
                       Jury Selection                 32.0     93.4    42.4     54.2     56.1      73.8
               Jurors
                       Percent Not Selected
                       or Challenged                  31.8     46.9    31.3     29.3     36.2      32.1

             NOTE: Criminal data in this profile count defendants rather than cases and therefore will not match previously published numbers.
             ¹ See "Explanation of Selected Terms."
                            Case 1:24-cv-23837-JEM Document 50-10 Entered on FLSD Docket 05/15/2025 Page 5 of 12


              Comparison of Districts Within the Fourth Circuit — 12-Month Period Ending December 31, 2024

                                                      MD     NC,E    NC,M     NC,W         SC     VA,E       VA,W    WV,N    WV,S
                           Filings                 4,504     3,614   1,791     2,327    8,211     5,185      1,638   1,132    1,079
                        Terminations               4,561     2,749   1,791     2,296    7,885     4,678      1,642   1,064    1,097
 Overall
                          Pending                  4,869     5,226   1,415     1,652   12,191     4,381      1,569   1,036    2,282
Caseload
Statistics   Percent Change          Over
             in Total Filings        Last Year         3.6   -16.1      1.0     10.8       6.3     13.9        2.2   -15.6    -10.1
             Current Year            Over 2019        -6.0    18.8    -18.5      6.9     67.0       5.6      -15.4   -18.6    -28.8
                         Number of Judgeships          10       4         4        5       10        11         4        3        5
                    Vacant Judgeship Months ¹          4.4     0.0      0.0     13.0       9.4      0.0        0.0     0.0      0.0
                                     Total            450     904      448       465      821      471        410     377      216
                                 Civil                393     683      283       336      730      373        336     195      157
                                 Criminal
                    Filings      Felony                36     150        86       74       58        66        50     139        44
 Actions                         Supervised
   per                           Release
Judgeship                        Hearings              22      71        80       56       34        32        23      43        14
                       Pending Cases                  487    1,307     354       330    1,219      398        392     345      456
                     Weighted Filings ¹               394     842      360       382      632      415        341     368      185
                        Terminations                  456     687      448       459      789      425        411     355      219
                       Trials Completed                13      28        19       18       12        17        20      13        10
             From                  Criminal
 Median      Filing to             Felony             20.4    12.7      9.5     14.9     14.3       7.9       12.2    12.1      9.4
  Time       Disposition           Civil ¹             7.3     8.2      7.8      5.7     12.0       5.3        9.8    10.1     11.4
(Months)            From Filing to Trial ¹
                         (Civil Only)                 46.7       -        -     26.9     37.6      14.6       23.0       -        -
                      Number (and %)
                       of Civil Cases                 433     229       49       50     1,859      338         56      42     1,095
                     Over 3 Years Old ¹               11.5    5.5       5.2      4.5     16.7      10.5        4.7     8.7     55.1
                      Average Number
                   of Felony Defendants
  Other                                                1.4     1.2      1.3      1.2       1.6      1.2        1.6     1.9      1.2
                       Filed per Case
                       Avg. Present for
                       Jury Selection                 54.5    37.2     33.0     20.3     50.2      55.2       50.7    58.1     37.6
               Jurors
                       Percent Not Selected
                       or Challenged                  33.2    28.1     46.6     30.9     34.0      36.8       43.4    27.8     18.0

             NOTE: Criminal data in this profile count defendants rather than cases and therefore will not match previously published numbers.
             ¹ See "Explanation of Selected Terms."
                            Case 1:24-cv-23837-JEM Document 50-10 Entered on FLSD Docket 05/15/2025 Page 6 of 12


              Comparison of Districts Within the Fifth Circuit — 12-Month Period Ending December 31, 2024

                                                   LA,E      LA,M     LA,W     MS,N      MS,S      TX,N     TX,E     TX,S     TX,W
                           Filings                 2,667     1,204    2,220      988     2,066    7,589     4,657   14,835   13,794
                        Terminations               6,968     1,563    3,535    1,010     2,021    7,072     4,618   14,434   14,102
 Overall
                          Pending                13,738      1,694    3,127      753     4,137    6,170     6,611   15,088   10,304
Caseload
Statistics   Percent Change          Over
             in Total Filings        Last Year     -63.9     -36.4     -3.2     -12.6    -50.7       8.2     10.3      4.9      4.7
             Current Year            Over 2019     -81.9       6.0      0.8      -1.2    -30.1       0.7     15.0    -22.1    -14.3
                         Number of Judgeships          12        3        7         3        6       12        8       19        13
                    Vacant Judgeship Months ¹         19.8     0.0      5.9       0.3      0.0       2.7      0.0     12.1      4.5
                                     Total            222     401       317      329       344      632      582      781     1,061
                                 Civil                187     357       265      253       268      478      465      356      349
                                 Criminal
                    Filings      Felony                29      38        41       58        57      112      117      336      608
 Actions                         Supervised
   per                           Release
Judgeship                        Hearings               7        6       11       18        20       43        0       89      104
                       Pending Cases               1,145      565       447      251       690      514      826      794      793
                     Weighted Filings ¹               222     402       303      376       339      591      825      601      756
                        Terminations                  581     521       505      337       337      589      577      760     1,085
                       Trials Completed                 6      19        12       17        32       17       10       14        18
             From                  Criminal
 Median      Filing to             Felony             14.4    10.9     11.5     12.4      10.8       9.0     24.1      4.9      6.0
  Time       Disposition           Civil ¹            12.1    10.4     18.9       6.2      9.0       5.4      7.4      7.5      7.8
(Months)            From Filing to Trial ¹
                         (Civil Only)                 20.6    39.0     28.4         -     17.6      20.8     23.0     32.0     33.9
                      Number (and %)
                       of Civil Cases            10,027        60      762        17       82       468      274      376      428
                     Over 3 Years Old ¹            75.8        4.2     27.8       3.1      2.2      10.9     7.1      5.8      10.0
                      Average Number
                   of Felony Defendants
  Other                                                1.4     1.2      1.4       1.3      1.3       1.4      1.7      1.1      1.1
                       Filed per Case
                       Avg. Present for
                       Jury Selection                 17.1    43.8     33.6     33.4      54.7      50.5     49.9     43.7     49.9
               Jurors
                       Percent Not Selected
                       or Challenged                  28.5    45.1     28.4     24.7      42.0      44.0     49.7     36.4     41.3

             NOTE: Criminal data in this profile count defendants rather than cases and therefore will not match previously published numbers.
             ¹ See "Explanation of Selected Terms."
                            Case 1:24-cv-23837-JEM Document 50-10 Entered on FLSD Docket 05/15/2025 Page 7 of 12


              Comparison of Districts Within the Sixth Circuit — 12-Month Period Ending December 31, 2024

                                                   KY,E      KY,W     MI,E     MI,W     OH,N      OH,S      TN,E    TN,M     TN,W
                           Filings                 1,640     1,699   4,456     2,000    4,563     6,017     1,809   2,226     1,953
                        Terminations               1,623     1,814   4,441     2,026    4,169     3,326     1,770   2,089     1,882
 Overall
                          Pending                  1,771     1,756   5,059     1,479    6,861    27,919     1,904   2,332     2,756
Caseload
Statistics   Percent Change          Over
             in Total Filings        Last Year        -1.4     1.4      4.8      -3.2     12.9      -3.1     10.0    12.7      10.6
             Current Year            Over 2019     -28.9     -11.8    -10.6      2.5     -23.0    -24.8     -23.0      7.2    -10.7
                         Number of Judgeships          5.5     4.5       15        4       11         8        5         4        5
                    Vacant Judgeship Months ¹          0.0     0.0      3.2      0.0       5.9      0.0       4.5      0.0      0.0
                                     Total            298     378      297       500      415       752      362      557      391
                                 Civil                192     279      233       413      285       664      234      445      260
                                 Criminal
                    Filings      Felony                75      75        42       55       54        61      106       53        65
 Actions                         Supervised
   per                           Release
Judgeship                        Hearings              31      24        22       32       76        27       23       58        65
                       Pending Cases                  322     390      337       370      624     3,490      381      583      551
                     Weighted Filings ¹               291     370      280       446      327       623      402      536      346
                        Terminations                  295     403      296       507      379       416      354      522      376
                       Trials Completed                14      15         9       14       11        30        8       18        25
             From                  Criminal
 Median      Filing to             Felony             10.1    14.3     16.1      9.3      13.3     14.5      15.5    26.2      14.2
  Time       Disposition           Civil ¹             8.9     9.3      8.0      7.1       8.1      8.4       9.6      7.6      9.0
(Months)            From Filing to Trial ¹
                         (Civil Only)                    -       -     39.9     35.9      35.8     41.4      32.4    51.4      25.6
                      Number (and %)
                       of Civil Cases                 131     118      425       33     3,231    15,411       77       66      186
                     Over 3 Years Old ¹               12.8    9.8      10.9      2.6     53.2      57.1       6.7      3.7     11.2
                      Average Number
                   of Felony Defendants
  Other                                                1.3     1.6      1.2      1.0       1.4      1.4       1.5      1.2      1.3
                       Filed per Case
                       Avg. Present for
                       Jury Selection                 49.2    63.5     78.3     46.1      50.6     65.2      42.1    57.5      78.1
               Jurors
                       Percent Not Selected
                       or Challenged                  27.7    37.0     58.2     51.2      47.2     62.0      31.0    33.6      56.5

             NOTE: Criminal data in this profile count defendants rather than cases and therefore will not match previously published numbers.
             ¹ See "Explanation of Selected Terms."
                            Case 1:24-cv-23837-JEM Document 50-10 Entered on FLSD Docket 05/15/2025 Page 8 of 12


              Comparison of Districts Within the Seventh Circuit — 12-Month Period Ending December 31, 2024

                                                      IL,N    IL,C     IL,S     IN,N      IN,S    WI,E     WI,W
                           Filings               14,514      1,819   3,170     2,443     3,787    2,151    1,160
                        Terminations             12,202      1,891   2,342     2,382     3,956    2,299    1,084
 Overall
                          Pending                23,499      1,909   7,712     2,532    11,179    2,116    1,188
Caseload
Statistics   Percent Change          Over
             in Total Filings        Last Year     -20.6       3.2    -28.8      -6.0     -0.1      0.2        5.4
             Current Year            Over 2019        43.8     0.6     62.3    -14.7     -45.4    -15.0       -14.3
                         Number of Judgeships          22       4         4        5         5        5          2
                    Vacant Judgeship Months ¹          6.5     0.0      0.0      1.6       6.0      8.8        0.0
                                     Total            660     455      793       489      757      430         580
                                 Civil                630     368      690       422      690      345         478
                                 Criminal
                    Filings      Felony                19      45        62       51       64        60         63
 Actions                         Supervised
   per                           Release
Judgeship                        Hearings              11      41        40       16         3       25         40
                       Pending Cases               1,068      477    1,928       506     2,236     423         594
                     Weighted Filings ¹               659     394      594       437      628      397         501
                        Terminations                  555     473      586       476      791      460         542
                       Trials Completed                 9      20        16       15       11         7         26
             From                  Criminal
 Median      Filing to             Felony             33.3    20.5     15.4     14.1      16.1     14.2        8.3
  Time       Disposition           Civil ¹             6.6     7.9     11.5      8.6      10.3      6.4        6.5
(Months)            From Filing to Trial ¹
                         (Civil Only)                 57.4    50.6        -         -     32.8     36.0       25.0
                      Number (and %)
                       of Civil Cases              2,480      155      621       138     6,449     100         44
                     Over 3 Years Old ¹             11.4      9.9      8.4       6.7      60.2     6.4         4.7
                      Average Number
                   of Felony Defendants
  Other                                                1.3     1.1      1.2      1.1       1.2      1.4        1.1
                       Filed per Case
                       Avg. Present for
                       Jury Selection                 60.9    35.7     39.0     35.4      36.7     28.6       21.7
               Jurors
                       Percent Not Selected
                       or Challenged                  47.2    44.5     24.5     31.8      33.5     37.0       13.4

             NOTE: Criminal data in this profile count defendants rather than cases and therefore will not match previously published numbers.
             ¹ See "Explanation of Selected Terms."
                            Case 1:24-cv-23837-JEM Document 50-10 Entered on FLSD Docket 05/15/2025 Page 9 of 12


              Comparison of Districts Within the Eighth Circuit — 12-Month Period Ending December 31, 2024

                                                   AR,E      AR,W      IA,N     IA,S      MN     MO,E        MO,W      NE       ND       SD
                           Filings                 2,201     1,161   1,017     1,205     5,408    3,554      2,649   1,298     809     1,341
                        Terminations               2,412     1,079     987     1,283     3,607    3,698      2,829   1,308     796     1,354
 Overall
                          Pending                  2,570     1,156     715       768    10,837    2,966      2,489   1,372     945     1,026
Caseload
Statistics   Percent Change          Over
             in Total Filings        Last Year        -9.3     8.0      7.7      -5.0     14.3      1.1       -7.6    -7.9      5.5      0.1
             Current Year            Over 2019     -19.9      -9.8    -10.0    -12.0      37.3    -34.6      -19.3   -17.3      4.7      -5.2
                         Number of Judgeships           5       3         2        3         7        8         6        3        2        3
                    Vacant Judgeship Months ¹          0.0     5.9      0.0      0.0       6.9     41.0        0.0     5.9      0.0      5.9
                                     Total            440     387      509       402      773      444        442     433      405       447
                                 Civil                324     296      202       193      664      256        280     249      131       124
                                 Criminal
                    Filings      Felony                78      62      184       111       56      125        108     118      188       191
 Actions                         Supervised
   per                           Release
Judgeship                        Hearings              38      28      123        98       52        64        54      65        86      132
                       Pending Cases                  514     385      358       256     1,548     371        415     457      473       342
                     Weighted Filings ¹               392     344      441       346      638      431        414     397      407       444
                        Terminations                  482     360      494       428      515      462        472     436      398       451
                       Trials Completed                16      12        63       75         9       26        14      12        32       39
             From                  Criminal
 Median      Filing to             Felony             23.0    12.8      9.9     10.6      13.7     14.5       20.0    13.5     17.0     10.8
  Time       Disposition           Civil ¹            10.5     9.0      7.0      8.4       8.4      6.0        7.0     8.6     11.0     10.9
(Months)            From Filing to Trial ¹
                         (Civil Only)                 32.8       -        -         -     47.1        -       22.2       -        -         -
                      Number (and %)
                       of Civil Cases                  84      29       17       16      5,010     100        151      63       37       63
                     Over 3 Years Old ¹                5.3     3.8      4.8      3.6      48.8     6.2        11.4     7.1     13.3     14.3
                      Average Number
                   of Felony Defendants
  Other                                                1.4     1.3      1.2      1.3       1.3      1.3        1.3     1.3      1.8      1.3
                       Filed per Case
                       Avg. Present for
                       Jury Selection                 47.1    49.3     47.7     38.3      55.8     47.2       55.6    35.4     35.5     45.0
               Jurors
                       Percent Not Selected
                       or Challenged                  41.7    41.4     45.4     27.6      50.2     31.3       37.8    11.1     17.4     20.9

             NOTE: Criminal data in this profile count defendants rather than cases and therefore will not match previously published numbers.
             ¹ See "Explanation of Selected Terms."
                             Case 1:24-cv-23837-JEM Document 50-10 Entered on FLSD Docket 05/15/2025 Page 10 of
                                                                   12

              Comparison of Districts Within the Ninth Circuit — 12-Month Period Ending December 31, 2024

                                                       AK       AZ     CA,N    CA,E     CA,C      CA,S        HI        ID      MT       NV       OR     WA,E    WA,W     GU     NMI
                           Filings                    560    18,034   10,547   6,009   18,437     7,445      859    1,094     1,417    3,484     3,046   1,626   3,708    109     78
                        Terminations                  467     9,068   12,020   5,869   18,018     6,911     1,008   1,064     1,347    3,566     3,077   1,553   3,605    122     61
 Overall
                          Pending                     800     8,056   12,940   7,931   13,942     4,981      803    1,188     1,278    4,316     3,112   1,197   3,168    356    120
Caseload
Statistics   Percent Change          Over
             in Total Filings        Last Year         0.4     58.5     39.3    13.4       5.7      4.4      -4.7     -1.7     24.0      5.9       7.4    -0.6     1.1     9.0   39.3
             Current Year            Over 2019     -10.7       27.7      9.4    17.2       1.7    -21.1     -21.6      1.7     10.4      -5.6     -6.9   -28.4    -6.6   -53.4   59.2
                         Number of Judgeships           3       13       14        6       28        13        4         2        3        7        6       4       7       1      1
                    Vacant Judgeship Months ¹         17.8      0.0      2.6     5.9     22.3      23.3       0.0      3.0      0.0      0.0      10.6    10.6     0.0     0.0    0.0
                                     Total            187     1,387     753    1,002      658      573       215      547      472       498      508     407     530     109     78
                                 Civil                117      362      663      866      588      202       160      321      253       423      362     212     451      27     17
                                 Criminal
                    Filings      Felony                69      922       31       69       39      255        23      147      151        30       88      89      43      44     39
 Actions                         Supervised
   per                           Release
Judgeship                        Hearings               0      103       60       66       31      116        33       80        68       45       58     106      36      38     22
                       Pending Cases                  267      620      924    1,322      498      383       201      594      426       617      519     299     453     356    120
                     Weighted Filings ¹               224      798      617      843      696      463       191      514      466       443      467     313     471        -      -
                        Terminations                  156      698      859      978      644      532       252      532      449       509      513     388     515     122     61
                       Trials Completed                 8       10        8       16       10         9        5       12        53       10        8      16      13       6      4
             From                  Criminal
 Median      Filing to             Felony             14.4      5.0     16.1    32.9     19.6       6.2      18.9    11.2       9.4     19.3      18.4    16.9    14.1    11.7    6.0
  Time       Disposition           Civil ¹             9.9      6.5     20.6     8.5       3.9      6.0       4.6    10.5      10.4      8.3       9.9     6.0     6.5    49.8    3.0
(Months)            From Filing to Trial ¹
                         (Civil Only)                    -     36.0     34.5    64.5     28.4      37.3         -        -        -     62.2      37.5       -    27.3       -      -
                      Number (and %)
                       of Civil Cases                  76      166     2,271   1,139      903      228        43     104        80      574       239      54     145     240     23
                     Over 3 Years Old ¹               17.8     4.1      19.0    18.6      8.4      10.8       9.4    13.8      11.8     16.3      10.4     8.0    5.7     87.0   39.7
                      Average Number
                   of Felony Defendants
  Other                                                1.3      1.0      1.3     1.8       1.6      1.2       1.1      1.3      1.2      1.3       1.3     1.4     1.5     1.2    1.8
                       Filed per Case
                       Avg. Present for
                       Jury Selection                 73.9     44.7     48.0    35.0     58.7      54.3     133.8    43.8      41.2     38.8      41.0    48.2    39.3   209.0   55.0
               Jurors
                       Percent Not Selected
                       or Challenged                  46.5     32.9     32.9    39.0     68.1      39.0      74.9    47.1      35.0     34.1      16.2    26.8    25.3    75.6    0.0

             NOTE: Criminal data in this profile count defendants rather than cases and therefore will not match previously published numbers.
             ¹ See "Explanation of Selected Terms."
                             Case 1:24-cv-23837-JEM Document 50-10 Entered on FLSD Docket 05/15/2025 Page 11 of
                                                                   12

              Comparison of Districts Within the Tenth Circuit — 12-Month Period Ending December 31, 2024

                                                      CO       KS       NM     OK,N     OK,E     OK,W         UT      WY
                           Filings                 4,193     1,845   3,844     1,305      810     2,205     2,197     615
                        Terminations               4,082     1,759   3,828     1,459      873     2,248     2,213     565
 Overall
                          Pending                  3,864     1,643   2,807     1,141      802     1,737     2,499   1,129
Caseload
Statistics   Percent Change          Over
             in Total Filings        Last Year         2.9     0.4      2.0      5.0     10.2      12.0      -2.7      3.2
             Current Year            Over 2019        -5.6   -21.0    -41.5      1.6     31.1      15.3      -8.0     -1.8
                         Number of Judgeships           7       6         7      3.5       1.5        6        5         3
                    Vacant Judgeship Months ¹          0.3    12.0      0.0      0.0       0.0      0.0       3.3      0.0
                                     Total            599     308      549       373      540      368       439      205
                                 Civil                518     205      186       183      343      233       249       93
                                 Criminal
                    Filings      Felony                55      68      253       137      161      100       126       68
 Actions                         Supervised
   per                           Release
Judgeship                        Hearings              26      35      110        53       36        35       65       44
                       Pending Cases                  552     274      401       326      535      290       500      376
                     Weighted Filings ¹               620     301      374       377      551      356       440      194
                        Terminations                  583     293      547       417      582      375       443      188
                       Trials Completed                16      15        15       15       36        25       11       10
             From                  Criminal
 Median      Filing to             Felony             14.5    15.7      3.4     13.6     13.6       9.5      13.0      5.5
  Time       Disposition           Civil ¹             7.6     7.2      7.9      7.2       8.5      6.7       9.2      8.8
(Months)            From Filing to Trial ¹
                         (Civil Only)                 35.5    20.0        -         -        -        -      30.0        -
                      Number (and %)
                       of Civil Cases                 210      55      125      100        47       66       214     152
                     Over 3 Years Old ¹               6.5      5.7     9.1      15.3       8.9      5.9      14.1    31.7
                      Average Number
                   of Felony Defendants
  Other                                                1.3     1.2      1.0      1.2       1.1      1.3       1.2      1.1
                       Filed per Case
                       Avg. Present for
                       Jury Selection                 39.7    41.0     61.6     53.3     51.4      41.3      55.6    38.7
               Jurors
                       Percent Not Selected
                       or Challenged                  29.9    40.4     24.0     36.2     37.2      24.9      30.5    31.6

             NOTE: Criminal data in this profile count defendants rather than cases and therefore will not match previously published numbers.
             ¹ See "Explanation of Selected Terms."
                             Case 1:24-cv-23837-JEM Document 50-10 Entered on FLSD Docket 05/15/2025 Page 12 of
                                                                   12

              Comparison of Districts Within the Eleventh Circuit — 12-Month Period Ending December 31, 2024

                                                   AL,N      AL,M     AL,S     FL,N      FL,M     FL,S     GA,N       GA,M    GA,S
                           Filings                 2,522     1,162     986     2,610   10,862    10,752    7,642      1,625   1,349
                        Terminations               2,450     1,099     973 169,977     10,937    10,550    7,679      1,615   1,443
 Overall
                          Pending                  2,854     1,389     943 105,681      8,333     5,829    5,742      1,621   1,231
Caseload
Statistics   Percent Change          Over
             in Total Filings        Last Year        -4.8     6.1     -2.5    -96.1       0.7    -53.8        -0.9     0.6    -5.6
             Current Year            Over 2019     -17.3     -16.3    -43.0    -63.3      -1.6    -15.5        -0.7   -12.6   -23.5
                         Number of Judgeships           8       3         3        4       15        18         11       4        3
                    Vacant Judgeship Months ¹         12.0     5.9      0.0      0.0     27.8      11.6         0.0     0.0     0.0
                                     Total            315     387      329       653      724      597         695     406     450
                                 Civil                231     296      164       560      594      487         637     292     332
                                 Criminal
                    Filings      Felony                53      81        96       65      102        83         39      93       67
 Actions                         Supervised
   per                           Release
Judgeship                        Hearings              32      10        69       28       28        27         18      21       51
                       Pending Cases                  357     463      314    26,420      556      324         522     405     410
                     Weighted Filings ¹               299     387      315       476      686      620         646     383     378
                        Terminations                  306     366      324    42,494      729      586         698     404     481
                       Trials Completed                17      16        25       20       17        23         19      13       16
             From                  Criminal
 Median      Filing to             Felony             10.2    10.8      9.3      8.8       9.9      7.3        12.2    15.5    13.0
  Time       Disposition           Civil ¹             8.6     8.3      9.0     46.1       5.6      3.5         5.0     8.5     6.4
(Months)            From Filing to Trial ¹
                         (Civil Only)                 35.5       -        -     17.7     27.4      24.4        35.0    32.5       -
                      Number (and %)
                       of Civil Cases                 361     171       33    67,203      465      126         164      93      77
                     Over 3 Years Old ¹               16.5    17.5      6.1     63.8      7.5      3.2         3.6      9.0     9.7
                      Average Number
                   of Felony Defendants
  Other                                                1.1     1.4      1.4      1.2       1.3      1.4         1.2     1.7     1.5
                       Filed per Case
                       Avg. Present for
                       Jury Selection                 33.0    47.5     42.7     44.0     45.6      42.2        34.0    11.0    44.8
               Jurors
                       Percent Not Selected
                       or Challenged                  40.4    33.9     37.2     32.0     31.9      12.7        39.3    62.5    34.8

             NOTE: Criminal data in this profile count defendants rather than cases and therefore will not match previously published numbers.
             ¹ See "Explanation of Selected Terms."
